Case 2:18-cv-01269-JLS-JCG Document 35 Filed 04/20/18 Page 1 of 5 Page ID #:1746




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   9
  10                                UNITED STATES DISTRICT COURT
  11                              CENTRAL DISTRICT OF CALIFORNIA
  12
  13 STM ATLANTIC N.V., a Dutch                              Case No. 2:18-cv-01269-JLS-JCG
     company; STM GROUP, INC., a
  14 Delaware corporation; EMIL                              GLOBAL-IP CAYMAN AND
     YOUSSEFZADEH, an individual; and                        GLOBAL IP USA, INC.’S
  15 UMAR JAVED, an individual,                              EVIDENTIARY OBJECTIONS TO
                                                             THE DECLARATION OF EMIL
  16                      Plaintiffs,                        YOUSSEFZADEH SUBMITTED IN
                                                             SUPPORT OF PLAINTIFF’S
  17           v.                                            MOTION FOR JUDICIAL
                                                             DETERMINATION
  18 DONG YIN DEVELOPMENT
     (HOLDINGS) LIMITED, a Hong Kong                         [FILED UNDER SEAL PER COURT
  19 unlimited company; CHINA ORIENT                         ORDER OF APRIL 2, 2018]
     ASSET MANAGEMENT
  20 (INTERNATIONAL) HOLDING                                 HEARING
     LIMITED, a Hong Kong limited                            Judge: Hon. Josephine L. Staton
  21 company; and LUDWIG CHANG, an                           Date: May 11, 2018
     individual,,                                            Time: 2:30 p.m.
  22                                                         Place: Courtroom 10A
                  Defendants.
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                                                          -1-              Case No. 2:18-cv-01269-JLS-JCG
       SMRH:486058159.1                 EVIDENTIARY OBJECTIONS TO DECLARATION OF EMIL YOUSSEFZADEH
Case 2:18-cv-01269-JLS-JCG Document 35 Filed 04/20/18 Page 2 of 5 Page ID #:1747




   1           Global-IP Cayman and Global IP USA, Inc. hereby make the following
   2 evidentiary objections to the Declaration of Emil Youssefzadeh (“Emil Decl.”)
   3 offered in support of Plaintiff’s Motion for Judicial Determination:
   4
   5                      MATERIAL OBJECTED TO:                GROUNDS FOR OBJECTION:
   6    1.       Emil Decl. ¶ 18                          Inadmissible Hearsay (Fed. R. Evid.
                 “Mr. Javed and I were also told that     801); Lacks Foundation (Fed. R.
   7             Mr. Fan was Dong Yin’s attorney.”        Evid. 602)
   8    2.       Emil Decl. ¶ 23:                         Lacks Foundation (Fed. R. Evid.
                 “Dong Yin was to provide the debt        602); Improper Legal Conclusion
   9             financing to the investor, and was
                 not to have any direct involvement
  10             with GIP-Cayman to avoid export
                 control law compliance issues.”
  11
        3.       Emil Decl. ¶ 29:                         Lacks Foundation (Fed. R. Evid.
  12             “As stated above, their role in the      602); Improper Legal Conclusion
                 transaction was supposed to be
  13             limited to providing debt financing
                 to Bronzelink.”
  14
        4.       Emil Decl. ¶ 44:                         Improper Legal Conclusion;
  15             “Because the October 1, 2016             Improper Opinion of a Lay Witness;
                 contracts each had 60-day notice         Best Evidence Rule (Fed. R. Evid.
  16             provisions, my resignations did not      1002)
                 become effective until on or about
  17             August 25, 2017. Accordingly, I          Mr. Youssefzadeh’s June 26, 2017
                 continued to actively serve as the       email to Tony Wong, Shiwen Fan,
  18             CTO and Chairman of the                  Shiyue Liu, Zheng Wang, Bahram
                 Management Committee until on or         Pourmand, and Umar Javed
  19             about August 16, 2017. I also            regarding his resignation specifically
                 continued to serve as the acting         provided that he would immediately
  20             CEO until the re-appointment of Mr.      be relieved of his duties. See
                 Pourmand as CEO on or about July         Compendium of Exhibits, Exh. G.
  21             17, 2017.”
  22    5.       Emil Decl. ¶ 51:                      Lacks Foundation (Fed. R. Evid.
                 “It soon became clear that Mr. Luo 602)
  23             had not previously met Mr. Fan. I
                 later found out from Mr. Luo that he
  24             had been selected and invited to join
                 the GIP-Cayman Board by a senior
  25             executive at Dong Yin.”
  26    6.       Emil Decl. ¶ 51:                         Lacks Foundation (Fed. R. Evid.
                 “Mr. Wong and Ms. Liu routinely          602)
  27             appeared to act at Mr. Fan’s
                 direction and did his bidding;
  28             neither of them seemed to exercise
                                                    -2-              Case No. 2:18-cv-01269-JLS-JCG
       SMRH:486058159.1           EVIDENTIARY OBJECTIONS TO DECLARATION OF EMIL YOUSSEFZADEH
Case 2:18-cv-01269-JLS-JCG Document 35 Filed 04/20/18 Page 3 of 5 Page ID #:1748




   1             any meaningful independence from
                 Mr. Fan in making decisions as
   2             members of the GIP Cayman
                 Board.”
   3
        7.       Emil Decl. ¶ 51:                      Lacks Foundation (Fed. R. Evid.
   4             “During these meetings, Mr. Fan       602); Vague and Ambiguous
                 and Mr. Wong made statements
   5             revealing that they were acting at
                 Dong Yin’s direction when it came
   6             to the Satellite Project, and Mr. Yui
                 did not behave as the owner of a
   7             company that had just invested $175
                 million in GIP-Cayman.”
   8
        8.       Emil Decl. ¶ 51:                         Lacks Foundation (Fed. R. Evid.
   9             “Additionally, Mr. Wong also flew        602)
                 Mr. Chen to Hong Kong for
  10             interviews with Dong Yin before
                 allowing the GIP-Cayman Board to
  11             consider, and ultimately approve,
                 his hiring.”
  12
        9.       Emil Decl. ¶ 51:                     Lacks Foundation (Fed. R. Evid.
  13             “Mr. Wong requested a two-week       602)
                 delay before any Board resolutions
  14             were approved, apparently so that he
                 and Mr. Fan would have time to
  15             present those resolutions to Dong
                 Yin for approval before any
  16             contemplated Board action.”
  17    10.      Emil Decl. ¶ 52:                         Inadmissible Hearsay (Fed. R. Evid.
                 “We asked Luo to have this               801); Irrelevant (Fed. R. Evid. 401)
  18             memorandum prepared so that
                 counsel’s legal advice could be
  19             presented to Bronzelink and Dong
                 Yin…”
  20
        11.      Emil Decl. ¶ 60:                         Lacks Foundation (Fed. R. Evid.
  21             “Julian Zhao also resigned from the      602); Vague and Ambiguous;
                 GIP-Cayman Board of Directors,           Improper Opinion of a Lay Witness
  22             which added to the governance and        (Fed. R. Evid. 701)
                 compliance problems.”
  23
        12.      Emil Decl. ¶ 70, in its entirety         Inadmissible Hearsay (Fed. R. Evid.
  24                                                      801); Lacks Foundation (Fed. R.
                                                          Evid. 602)
  25
        13.      Emil Decl. ¶ 79                          Improper Legal Conclusion;
  26             “As stated above, our resignations       Improper Opinion of a Lay Witness;
                 became effective on or about             Best Evidence Rule (Fed. R. Evid.
  27             August 25, 2017, and we continued        1002)
                 to be actively involved in the
  28

                                                    -3-              Case No. 2:18-cv-01269-JLS-JCG
       SMRH:486058159.1           EVIDENTIARY OBJECTIONS TO DECLARATION OF EMIL YOUSSEFZADEH
Case 2:18-cv-01269-JLS-JCG Document 35 Filed 04/20/18 Page 4 of 5 Page ID #:1749




   1             management of CIP-Cayman until            Mr. Youssefzadeh’s June 26, 2017
                 on or about August 16, 2017.”             email to Tony Wong, Shiwen Fan,
   2                                                       Shiyue Liu, Zheng Wang, Bahram
                                                           Pourmand, and Umar Javed
   3                                                       regarding his resignation specifically
                                                           provided that he would immediately
   4                                                       be relieved of his duties. See
                                                           Compendium of Exhibits, Exh. G.
   5
        14.      Emil Decl. ¶ 96:                          Improper Legal Conclusion
   6             “I did not believe that the email was
                 a privileged communication.”
   7
        15.      Emil Decl. ¶ 99, in its entirety          Inadmissible Hearsay (Fed. R. Evid.
   8                                                       801)
   9    16.      Emil Decl. ¶ 100:                  Inadmissible Hearsay (Fed. R. Evid.
                 “Mr. Chang stated that he had been 801)
  10             in contact with Dong Yin, and Dong
                 Yin representatives, including Mr.
  11             Dong, Mr. Long, Mr. Zeng, and
                 others, and had read both the
  12             Milbank Memo and the Chen
                 Memo.”
  13
        17.      Emil Decl. ¶ 101:                   Lacks Foundation (Fed. R. Evid.
  14             “Sidley had represented Bronzelink 602)
                 in its investment in GIP-Cayman; it
  15             was not acting as Bronzelink’s
                 ITAR counsel, and did not represent
  16             GIP-Cayman or GIP-USA in any
                 capacity.”
  17
        18.      Emil Decl. ¶ 102, in its entirety         Inadmissible Hearsay (Fed. R. Evid.
  18                                                       801)
  19    19.      Emil Decl. ¶ 104:                         Inadmissible Hearsay (Fed. R. Evid.
                 “Both consultants confirmed to me         801)
  20             that they had read the Milbank
                 Memo and the Chen Memo
  21             carefully. They told us that Dong
                 Yin would reward us if we were
  22             willing to back off and drop the
                 compliance issues.”
  23
        20.      Emil Decl. ¶ 105:                         Lacks Foundation (Fed. R. Evid.
  24             “Ms. Li was permitted to attend the       602)
                 meeting as an observer.”
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                                                     -4-             Case No. 2:18-cv-01269-JLS-JCG
       SMRH:486058159.1           EVIDENTIARY OBJECTIONS TO DECLARATION OF EMIL YOUSSEFZADEH
Case 2:18-cv-01269-JLS-JCG Document 35 Filed 04/20/18 Page 5 of 5 Page ID #:1750




   1 Dated: April 20, 2018
   2                              SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
   3
   4
                                  By                   /s/ Charles L. Kreindler
   5                                                 CHARLES L. KREINDLER
   6                                                  JENNIFER G. REMOND
                                                      TRAVIS J. ANDERSON
   7
   8                                        Attorneys for Non Parties Global-IP Cayman
                                                      and Global IP USA, Inc.
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                                               -5-              Case No. 2:18-cv-01269-JLS-JCG
       SMRH:486058159.1      EVIDENTIARY OBJECTIONS TO DECLARATION OF EMIL YOUSSEFZADEH
